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IN THE UNITED STATES DISTRECT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FERNANDO NUNEZ : CIVIL ACTION
v. : NO. 14-2192
SUPERINTENDENT BERNADETTE
MASON, ACTING SECRETARY OF
THE PENNSYLVANIA
DEPARTMENT OF CORRECTIONS
GEORGE LITTE, PENNSYLVANIA
STATE ATTORNEY GENERAL
JOSHUA SHAPIRO
ORDER
AND NOW, this 6" day of April 2023, upon review of the Petition for habeas relief (ECF
Doc. No. 1} under 28 U.S.C. § 2254, Petitioner’s counseled Memorandum (ECF Doc. No. 42) in
support of habeas relief, the District Attorney’s Response (ECF Doc. No. 51) conceding habeas
relief, mindful of notice and right-to-be-heard obligations possibly imposed by the Crime Victims’
Rights Act and Pennsylvania Crime Victims’ Rights Act,' finding our review raises questions
atising from the District Attorney’s concession for which timely guidance from the parties will
assist our analysis, itis ORDERED:
1. Each Party is granted leave to file supplemental memoranda not exceeding twenty
pages on or before May 10, 2023 addressing:
a. Did the Pennsylvania Superior Court’s harmless error review after finding the trial
court committed error in violating Petitioner’s non-waived constitutional right to be present during
a critical stage of his trial involve an unreasonable application of clearly established federal law?*

b. Whether notice from the District Attorney complied with the Crime Victims’ Rights

Act and Pennsylvania’s Crime Victims’ Rights Act?

 

 

 

 
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2, The District Attorney shall serve this Order, as well as the Petition (ECF Doc. No.
1), Memorandum (ECF Doc, No, 42) and the Response (ECF Doc. No. 51) upon the victim’s
known family or their lawful representative no later than April 11, 2023 under a cover letter copied
to Petitioner’s counsel! advising they may, by no later than May 1, 2023:

a. provide the District Attorney with their written position as to the requested habeas

relief:
b. file a statement of interest before us on or before May 1, 2023; and,
c. request notice of all sentence modifications and public hearings;
3. The District Attorney shall file a Certificate of Service confirming compliance with

Paragraph 2 of this Order by no later than April 12, 2023;

4, The District Attorney may not take actions to dissuade the victim’s family or lawful
representative from being heard or otherwise unreasonably delay our analysis; and,

5, Nothing in this Order precludes appointing amici after review of the parties’

supplemental Memoranda.

 

 

KEARNY, J.

 

148 ULS.C. § 3771; 18 PS. § 11.213.

2 See Commonwealth v. Nunez, 903 EDA 2007 (Pa. Super. Dec. 23, 2008); see also Williams v.
Taylor, 529 U.S. 362 (2000) (citing Antiterrorism and Effective Death Penalty Act of 1996
(AEDPA), 28 U.S.C. § 2254(d)(1)).

 

 
